
Peck, J.
delivered the opinion of the court.
The attachment on its face shows, that West is an inhabitant of another State, namely, Louisiana. The garnishee pleads that Webb is an inhabitant of Alabama; that the court cannot entertain jurisdiction of the cause; that if compelled to pay the money on the judgment improperly rendered against him as garnishee, the same will be no bar to a subsequent recovery at the suit of West, his creditor. These facts appearing upon the record, ousts the court of jurisdiction. See the case of Kincaid vs. Francis, administrator of Thomas, Cooke’s Rep. 49, where the very point arose, and was determined. This case has been followed ever since in subsequent cases, it is believed, without exception. The judgment of the circuit court must be affirmed.
Judgment affirmed.
